Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 1 of 16 PagelD: 1

2020R00458/JHS/SER

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA : Hon. Michael A. Hammer
Vv. : Mag. No. 2383-10168
CHRISTOPHER JAMES CRIMINAL COMPLAINT

SCANLON :

I, Jason Annuziato, being duly sworn, state the following is true and correct to
the best of my knowledge and belief:

SEE ATTACHMENT A

I further state that I am a Special Agent with the U.S. Attorney’s Office for
the District of New Jersey, and that this complaint is based on the following facts:

SEE ATTACHMENT B

continued on the attached pages and made a part hereof.

[| -f

Jason Arthuzi Apecial Agent
U.S. Attorney's Office
District of New Jersey

_—

Special Agent Annuziato attested to this Affidavit by telephone pursuant to
F.R.C.P. 4.1(B)(2)(A) on this 20th day of April, 2023.

Michal QL. Woman

Hon. Michael A. Hammer
United States Magistrate Judge

Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 2 of 16 PagelD: 2

ATTACHMENT A
(Conspiracy to Control and Own an
Unlicensed Money Transmitting Business)

From at least as early as in or around 2015 through in or around 2019, in the
District of New Jersey, and elsewhere, the defendant,

CHRISTOPHER JAMES SCANLON,

did knowingly and intentionally conspire and agree with others to conduct, control,
manage, supervise, direct, and own all or part of an unlicensed money transmitting
business, as that term is defined in Title 18, United States Code, Section 1960(b)(1),
affecting interstate and foreign commerce, and which failed to comply with the
money transmitting business registration requirements under Title 31, United
States Code, Section 5330 and regulations prescribed thereunder, contrary to Title
18, United States Code, Section 1960(a).

In violation of Title 18, United States Code, Section 371.
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 3 of 16 PagelD: 3

ATTACHMENT B

I, Jason Annuziato, am a Special Agent of the U.S. Attorney’s Office for
the District of New Jersey. The information contained in the complaint is based
upon my personal knowledge, as well as information obtained from other sources,
including: (a) statements made or reported by various witnesses with knowledge of
relevant facts; (b) my review of publicly available information; (c) information
received from other investigators; and (d) my review of evidence, including business
records, bank records, and other documents. Because this complaint is being
submitted for a limited purpose, I have not set forth every fact that I know
concerning this investigation. Where the contents of documents and the actions and
statements of others are reported, they are reported in substance and in part,
except where otherwise indicated. Where I assert that an event took place ona
particular date, I am asserting that it took place on or about the date alleged.

1. At all times relevant to this Criminal Complaint:

a, Under Title 31, United States Code, Section 5330 and
accompanying regulations, any person who owned or controlled a money
transmitting business (“MTB”) must have registered the business (whether or not
the business is licensed as a money transmitting business in any state) with the
Secretary of the Treasury not later than the end of the 180-day period beginning on
the date on which the business was established. This registration is accomplished
with the Financial Crimes Enforcement Network (“FinCen”), a bureau of the
Treasury Department.

b. FinCen’s mission was to safeguard the United States financial
system from illicit use and combat money laundering and promote national security
through the collection, analysis, and dissemination of financial intelligence and
strategic use of financial authorities. FinCen carried out its mission, in part, by
receiving and maintaining financial transaction data, and analyzing and
disseminating that data for law enforcement purposes. FinCen was responsible, in
part, for detecting and deterring financial crime.

e. Defendant Christopher James Scanlon (“Scanlon”) was a United
States citizen who resided in Utah and later moved to London, England. Scanlon
was the President, Chief Executive Officer, and Founder of the brands Aurae
Lifestyle and Club Swann. Scanlon was also the owner of PMA Media Group, Inc.
(“PMA”), and, as explained herein, the indirect owner of AU Card, LLC, AU Card
Ltd., and Nvayo Ltd (““Nvayo”).

d. PMA was incorporated in Delaware with its principal place of
business in Utah. PMA was wholly owned by Scanlon, who served as its Director.
PMA directly owned AU Card, LLC and indirectly owned Nvayo, among other
entities. PMA was not registered as an MTB with FinCen.
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 4 of 16 PagelD: 4

e. AU Card, LLC, which does business as “Aurae Lifestyle,” and
“Club Swann,” was a Delaware limited liability company with its principal place of
business in Utah. PMA was the sole member of AU Card, LLC. Scanlon was the
Director of AU Card, LLC. AU Card, LLC is the 100% owner of AU Card Ltd.
Throughout the course of the conspiracy, AU Card, LLC maintained bank accounts
at several different U.S. financial institutions, including at Banks-1, -2, and -3. AU
Card, LLC was not registered as an MTB with FinCen.

f. AU Card Ltd. was a pass-through entity that entered into
contracts with third-parties for the benefit of Aurae Lifestyle. AU Card Ltd. was
the direct owner of Nvayo, and was directly owned by AU Card, LLC. AU Card Ltd.
was not registered as an MTB with FinCen.

g. Nvayo was a company registered in the United Kingdom. Nvayo
was wholly owned by AU Card Ltd., which was wholly owned by AU Card, LLC,
which was wholly owned by Scanlon. Nvayo maintained a license in the United
Kingdom to provide e-money wallets on behalf of Aurae Lifestyle customers. AU
Card Ltd. acquired Nvayo in or around August 2017. Nvayo was not registered as
an MTB with FinCen.

Ki. Customer-1 was a resident of New Jersey and a customer of
Aurae Lifestyle. In or around 2021, Customer-1 pleaded guilty to U.S. federal
charges for conspiring to violate the federal anti-kickback statute and conspiring to
defraud the IRS.

1. Customer-2 was a resident of California and a customer of
Aurae Lifestyle. Customer-2 was previously convicted in or around 2001 ofa
federal charge for conspiring to engage in mail and wire fraud, which arose in
connection with a long distance phone card scam. In or around 2018, the U.S.
Securities and Exchange Commission (“SEC”) brought a civil enforcement action
against Customer-2 and his entity (“Fraud Entity-1”) alleging various federal
securities violations that occurred between in or around October 2015 and in or
around 2017 (“Fraud Scheme-1”). The SEC alleged that Fraud Scheme-1 was a
Ponzi and pyramid scheme. In or around 2023, the SEC achieved a settlement with
Customer-2 and Fraud Entity-1, which required Customer-2 and Fraud Entity-1 to
jointly and severally disgorge more than approximately $20 million.

j. Customer-3 was a resident of Colorado and a customer of Aurae
Lifestyle. In or around December 2019, Customer-3 was charged in a federal
indictment (“Indictment-1”) with conspiracy to commit wire fraud in connection
with a large-scale cryptocurrency mining scheme (“Fraud Scheme-2”), which took
place between in or around 2014 and in or around December 2019.

k. Customer-4 was a citizen of the United States and a customer of
Aurae Lifestyle. In or around December 2019, Customer-4 was charged in

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Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 5 of 16 PagelD: 5

Indictment-1 with conspiracy to commit wire fraud in connection with Fraud
Scheme-2.

1s Customer-5 was a resident of California and a customer of
Aurae Lifestyle. In or around 1997, Customer-5 was convicted of a federal charge
for distributing methamphetamine, and was sentenced to a federal term of
imprisonment of 145 months, followed by 5 years of supervised release. In or
around December 2019, Customer-5 was charged in Indictment-1 with conspiracy to
promote an unregistered security in connection with Fraud Scheme-2. In or around
September 2020, Customer-5 pleaded guilty to conspiring to promote an
unregistered security in connection with Fraud Scheme-2 and to subscribing to a
false tax return.

m. Lawyer-1 was an attorney licensed to practice law in the State of
Utah and a customer of Aurae Lifestyle. Lawyer-1 assisted Customer-3, Customer-
4, and others with transmitting significant amounts of money obtained through
Fraud Scheme-2, including through Lawyer-1’s Aurae Lifestyle account.

n. Bank-1, Bank-2, and Bank-3 were U.S. financial institutions.

0. Cryptocompany-1 and Cryptocompany-2 had their principal
places of business in Illinois and New Jersey, respectively.

p. All wire transfers processed through the Fedwire Funds Service
(“Fedwire”) were processed in a way that caused an electronic communication to
travel through a Federal Reserve facility in New Jersey.

Aurae Lifestyle

2. PMA, AU Card, LLC, AU Card Ltd., and Nvayo (collectively, the “AU
Entities”) operated together at Scanlon’s direction to provide fiat and
cryptocurrency financial services to their customers, including by transferring fiat
and cryptocurrency to third parties on behalf of, and sometimes between, their
customers, and liquidating cryptocurrency on behalf of their customers. The AU
Entities were an MTB as that term is defined in Title 31, United States Code,
Section 5330(d).

as Scanlon conspired with others, including his Chief Legal Officer, to
conduct, control, manage, supervise, direct, and own the AU Entities.

A, According to a record produced by AU Card, LLC, between in or
around 2015 and in or around 2019, more than approximately 100 U.S.-based
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 6 of 16 PagelD: 6

individuals worked for the AU Entities, including a Controller and the AU Entities’
General Counsel.

5. According to a consolidated balance sheet prepared for PMA and AU
Card, LLC, as of approximately June 30, 2019, PMA and AU Card, LLC had assets
worth close to approximately $35 million held in safeguarded savings and checking
accounts.

6. The U.S. Attorney’s Office for the District of New Jersey (“DNJ”) and
the Internal Revenue Service, Criminal Investigation (“IRS-CI”) have been
investigating Scanlon and others in connection with their ownership and operation
of Aurae Lifestyle, a service that purported to be a concierge service but, in reality,
operated as an unlicensed private bank for its customers and had operations in the
United States and other foreign jurisdictions.

‘t. While AU Card, LLC did provide some concierge services, the AU
Entities’ revenue was primarily derived from providing customers with financial
services. For example, in or around January 2019, Scanlon wrote and sent an email
to several employees of the AU Entities, in which he stated: “It has been a business
wide effort in producing a truly world class ‘challenger bank’ type application, with
the added benefit of being able to liquidate crypto currency through our concierge
arm.” Scanlon touted further how the AU Entities had “[p]rocessed and maintained
financial control over the many millions of dollars of member load, transfer, and
wire transactions which account for over 95% of our net income.”

8. Scanlon owned and controlled the AU Entities, and he acted as the
primary “relationship manager” (1.e., a customer service representative) for several
high-net-worth customers of the AU Entities operating under the Aurae Lifestyle
brand. Scanlon often communicated with customers about financial transactions
using phone messaging applications, using encrypted messaging applications.

9. Customers were charged high fees to become “members” of Aurae
Lifestyle and to conduct financial transactions through their Aurae Lifestyle
accounts. Aurae Lifestyle further offered a bespoke solid gold debit card to
“members” at an exorbitant rate. For example:

a. Inor around July 2015, AU Card, LLC issued an invoice to a
customer with a listed address in New York, in the approximate
amount of $60,000 for an Aurae Elite Lifestyle membership. AU
Card, LLC’s bank account at Bank-2 was listed at the bottom of the
invoice, along with instructions to wire the funds to the Bank-2
account.

b. In or around July 2018, AU Card, LLC issued an invoice to
Customer-4, with a listed address in Nevada, in the approximate
amount of $28,000 for an Aurae Elite Lifestyle membership anda

-4-
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 7 of 16 PagelD: 7

14K custom yellow gold MasterCard. AU Card, LLC’s bank account
at Bank-2 was listed at the bottom of the invoice, along with
instructions to wire the funds to the Bank-2 account.

c. Inor around January 2019, AU Card, LLC issued an invoice to a
trust, and also to Lawyer-1, in the approximate amount of $28,000
for an Aurae Elite Lifestyle membership and a 14K custom yellow
gold MasterCard. AU Card, LLC’s bank account at Bank-2 was
listed at the bottom of the invoice, along with instructions to wire
the funds to the Bank-2 account.

d. In or around May 2019, AU Card, LLC issued an invoice to a
customer in the approximate amount of $49,500 for an Aurae Elite
Lifestyle membership and a 14K custom yellow gold MasterCard.
AU Card, LLC’s bank account at Bank-2 was listed at the bottom of
the invoice, along with instructions to wire the funds to the Bank-2
account.

e. Inor around December 2019, AU Card, LLC issued an invoice to a
customer in the approximate amount of $44,750 for an Aurae Elite
Lifestyle membership and a 14K custom yellow gold MasterCard.
AU Card, LLC’s bank account at Bank-2 was listed at the bottom of
the invoice, along with instructions to wire the funds to the Bank-2
account.

10. In addition to the high “membership” fees and the expensive debit
cards, customers were charged significant fees to conduct fiat wire transfers,
sometimes approximately 1% of the amount of the wire.

11. Aurae Lifestyle was attractive to a particular type of customer because
it provided customers the ability to engage in financial transactions without
immediate scrutiny or detection by U.S. financial regulators and provided
customers with access to the U.S. financial system when they otherwise would be
barred from obtaining a U.S. bank account. Further, and illustrative of Aurae
Lifestyle’s purpose, a social media account for Aurae Lifestyle promised its
customers “discretion.”

12. For example, Aurae Lifestyle customers were permitted to transfer
money to other Aurae Lifestyle customers in a manner that would not be detected
by banks or U.S. regulators unless regulators were able to obtain customer records
from the AU Entities. This provided “discretion” because, at times, the AU Entities
attempted to use foreign privacy laws and the location of Nvayo’s registration to
hide records related to its customers from U.S. regulators and law enforcement,
including DNJ and IRS-CI.
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 8 of 16 PagelD: 8

13.  Inpractice, and as highlighted in the examples below, the AU Entities
used accounts at Bank-1, Bank-2, and Bank-3 to provide money transmitting
services to their customers without properly registering with FinCen.

14. Records from Bank-1 reflect that between in or around January 2018
through in or around February 2019, AU Card, LLC received more than
approximately $37 million from Nvayo by wire transfer into its account at Bank-1
(the “AU Bank-1 Account”), and AU Card, LLC sent approximately $24 million in
wire transfers to Nvayo.

15. Records from Bank-2 reflect that between in or around January 2019
through in or around January 2020, AU Card, LLC received more than
approximately $28 million from Nvayo by wire transfer into a Bank-2 account.
Records from Bank-2 reflect that at least approximately five of these wire transfers
have a IMAD number on the wire transfer, which I know from my training and
experience, generally speaking, means that the wire was conducted through the
Fedwire system.

16. The AU Entities also maintained accounts at several U.S.-based
cryptocurrency companies, including Cryptocompany-1 and Cryptocompany-2, to
facilitate money transmitting services to their customers that involved
cryptocurrency. Again, during this time period, the AU Entities were not properly
registered with FinCen.

a. According to records obtained from Cryptocompany-1, in or around
2018, AU Card, LLC engaged in over 160 digital asset trades that
involved over $150 million. In or around 2019, AU Card, LLC
engaged in over 5,900 digital asset trades that involved over $35
million.

b. Records obtained from Bank-1 reflect that from in or around
January 2018 through in or around January 2019, the AU Bank-1
Account received more than approximately $157 million from a
bank account controlled by Cryptocompany-1, and AU Card, LLC
wired approximately $1.3 million to a bank account controlled by
Cryptocompany-1 from the AU Bank-1 Account.

c. Records obtained from Bank-2 reflect that from in or around
February 2019 through in or around April 2019, an AU Card, LLC,
Bank-2 account received more than approximately $13 million from
a bank account controlled by Cryptocompany-1, and AU Card, LLC
wired approximately $1.6 million to a bank account controlled by
Cryptocompany-1 from the AU Card, LLC Bank-2 account.

d. Scanlon, on behalf of AU Card, LLC, entered into loans with
Cryptocompany-2 so the AU Entities could have liquidity involving

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Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 9 of 16 PagelD: 9

cryptocurrency and cash. Under the loan agreements,
Cryptocompany-2 provided AU Card, LLC with a loan for millions
of dollars in exchange for AU Card, LLC using bitcoin as collateral.
For example, in or around November 2019, AU Card, LLC loaned
approximately $2 million from Cryptocompany-2 and put up
approximately 395 bitcoin as collateral on the loan.

17. Inor around 2021, the U.S. Financial Controller for PMA (the “PMA
Controller’) sent an email admitting that the AU Entities would use AU Card,
LLC’s accounts at Bank-2, Bank-3, and Cryptocompany-1 to facilitate transactions
on behalf of customers of the AU Entities. The PMA Controller provided an
example that involved a hypothetical customer who wanted to purchase bitcoin
through an account provided by the AU Entities. According to the PMA Controller,
the AU Entities could facilitate such a transaction using U.S.-based companies,
including U.S. financial institutions.

18. Further, Scanlon operated the AU Entities without appropriate regard
for the applicable U.S. financial regulatory system and viewed the penalties for
regulatory noncompliance as insignificant. For example, in an exchange with
another person working with the AU Entities, Scanlon acknowledged that the AU
Entities were moving “fast,” but Scanlon reasoned that moving fast is “how we win.”
Scanlon continued: “in the end, if the regulators come and scrutinize . . . they tell
you what you have done wrong, slap you on the wrist with a fine, and you
remediate.”

Customer- 1

19. Customer-1 managed a marijuana distribution business. According to
Customer-1, in or around 2016, Customer-1 met Scanlon at a professional football
game in East Rutherford, New Jersey. Customer-1 told Scanlon that Customer-1
ran a medical marijuana business. During this football game, Scanlon recruited
Customer-1 to use Aurae Lifestyle, which at the time was an unlicensed money
transmitting business. Scanlon told Customer-1 that Scanlon knew a lot of people
in that business and offered that he (Scanlon) had a business that could serve as a
sort of bank for Customer-1’s business. This was appealing to Customer-1 because
U.S. banks were unwilling to service his marijuana distribution business.

20. Thereafter, Customer-1 opened an Aurae Lifestyle account. Scanlon
told Customer-1 that some of Scanlon’s clients needed cash, so Scanlon would give
them the cash he received from other clients and would credit their Aurae Lifestyle
accounts appropriately. Indeed, sometime thereafter Scanlon instructed Customer-
1 to provide cash to another Aurae Lifestyle customer, which Scanlon then caused
to be credited to Customer-1’s Aurae Lifestyle account.
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 10 of 16 PagelD: 10

21. Scanlon thereafter met Customer-1 at a location in New York City. At
this meeting, Customer-1 handed Scanlon a bag full of cash, which Customer-1
understood would be provided to an Aurae Lifestyle customer who needed cash.

22. Records of Customer-1’s Aurae Lifestyle account reflect large
transactions credited to his Aurae Lifestyle account. For example, the records
reflect that in or around December 2016, approximately $40,000 was credited to
Customer-1’s Aurae Lifestyle account. The explanation for the credit is “credit -
other charge adjustment.” On or about the same day, the records reflect a charge at
a restaurant in New Jersey (the “New Jersey Café”).

23.  Inor around December 2016, Scanlon exchanged messages with
Customer-1 about his Aurae Lifestyle account. Approximately two days before
Customer-1’s Aurae Lifestyle records reflect the $40,000 credit to his account and
the charge from the New Jersey Café, Scanlon discussed that he would travel to the
New York area to personally deliver Customer-1’s gold card to him. In response to
Scanlon asking where’he should meet Customer-1, Customer-1 sent Scanlon a map
screenshot of the New Jersey Café, and Scanlon agreed to meet Customer-1 there
the following morning.

24. Inor around May 2017, Scanlon sent Customer-1 a text message
offering to meet Customer-1 in another city and said: “I can meet you there- we
need 600” “Up to you brother :).” A few days later, Scanlon asked Customer-1, “600
doable? Meet in Vegas?”

25.  Inor around June 2018, Scanlon instructed Customer-1 to provide
cash to another Aurae Lifestyle customer, Customer-2. Customer-1 flew to Los
Angeles, California and gave Customer-2 thousands of dollars in cash. During the
transaction, Customer-1 was on the phone with Scanlon. The cash provided by
Customer-1 to Customer-2 was derived from the sale of marijuana.

26.  Inor around June 2018, Scanlon sent Customer-1 a text message that
said Scanlon had “good news” and instructed Customer-1 to call him in the
morning. A few days later, Customer-1 asked for a location, in response to which
Scanlon sent a hotel in Southern California in the general vicinity of Los Angeles.
On or about the day before the over $300,000 card-to-card transaction was posted to
Customer-1’s Aurae Lifestyle account, Customer-1 and Scanlon exchanged the
following messages:

Scanlon Customer-1

Just landed in LA
Wow! I just spoke _ to
[Customer-2’s first name]

Ok if I give him your number?
Wait still need to go collect

-8-
Case 2:23-mj-10168-MAH Document 1 Filed 04/20/23 Page 11 of 16 PagelD: 11

Will meet him later on
Just give me his number

You bet bro
Thank you my friend
Please let him know i am
flying back tonight my flight
is at 7:30
Sorry to keep bothering you
Will do bud

He needs to be done by 6

27.  Tnor around June 2018, Customer-1’s Aurae Lifestyle account records
reflect a “card to card” transfer to Customer-1’s Aurae Lifestyle account of over
approximately $300,000.

Customer-2

28. Customer-2 conducted over $38 million worth of financial transactions
through his Aurae Lifestyle account between in or around 2018 and in or around
2019.

29. For example:

a. According to an email from Scanlon sent to Customer-2, in or
around August 2017 and in or around December 2017, the AU
Entities credited Customer-2’s Aurae Lifestyle account the
equivalent of approximately $1 million in exchange for bitcoin from
Customer-2 on each occasion.

b. In or around March 2018, Customer-2 messaged Scanlon and
requested that Scanlon wire approximately $1.25 million from
Customer-2’s Aurae Lifestyle account to another U.S. business
bank account. Thereafter, Scanlon and another U.S.-based
employee of the AU Entities caused a wire transfer to be executed
from the AU Bank-1 Account in the approximate amount of $1.25
million to another U.S. business bank account as requested by
Customer-2.

c. Inor around June 2019, Customer-2 wired approximately $3.5
million to an account controlled by the AU Entities for the purpose
of purchasing bitcoin. The AU Entities charged Customer-2
approximately $3.427 million for the bitcoin and charged
approximately $6,250 for the transaction. Scanlon instructed
several AU Entity employees, including the Financial Controller of
Nvayo Ltd. (the “Nvayo Controller”), to wire money to a Bank-2

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Case 2:23-mj-10168-MAH Document 1 Filed 04/20/23 Page 12 of 16 PagelD: 12

Customer-3

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31.

account, with instructions to then send the money from the Bank-2
account to another U.S. bank account at Bank-3, and to then
transfer the money to Cryptocompany-1 to complete the
transaction. The Nvayo Controller later emailed Scanlon to confirm
that a payment request of $2.6 million from Nvayo to Bank-2 had
been requested.

This investigation has revealed that Customer-3 moved millions of
dollars derived from Fraud Scheme-2 through his Aurae Lifestyle account.

For example:

a.

In or around August 2018, Scanlon directed his employees of the
AU Entities to conduct a wire transfer of approximately $2.5
million for Customer-3 through his Aurae Lifestyle account.

In or around March 2019, Scanlon directed his AU Entities
employees to conduct a wire transfer for Customer-3 of
approximately $3 million, to be sent through AU Card, LLC’s Bank-
2 account.

In or around April 2019, Customer-3 transferred approximately $1
million from his Aurae Lifestyle account to Lawyer-1’s Aurae
Lifestyle account.

In or around June 2019, Scanlon directed his AU Entities
employees to conduct a wire transfer for Customer-3 of
approximately $750,000 to be sent through the AU Card, LLC’s
Bank-2 account to a bank in Australia.

In or around July 2019, Scanlon directed his AU Entities employees
to conduct a wire transfer for Customer-3 of approximately
$400,000 to be sent through AU Card, LLC’s Bank-2 account.
Customer-3 was charged approximately $4,000 by Aurae Lifestyle
as a wire transfer fee for this transaction.

In or around December 2019, Customer-3 sent bitcoin to a wallet
provided to Customer-3 by Scanlon in order to receive fiat currency
in return through his Aurae Lifestyle account. In response to
Customer-3’s request, Scanlon directed his AU Entities employees
to transfer approximately $2.965 million from AU Card, LLC’s
network account at Bank-3 to AU Card, LLC’s operating account at
Bank-3. Scanlon then instructed the employees to send
approximately $2.965 million from the Bank-3 operating account to

-10-
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 13 of 16 PagelD: 13

AU Card, LLC’s Bank-2 account. Scanlon instructed further that,
once the funds arrived in the Bank-2 account, the employees were
to wire approximately $2.5 million from the Bank-2 account into a
bank account provided by Customer-3. Through the above
transactions, Customer-3 was able, through his Aurae Lifestyle
account, to convert more than $2.5 million in bitcoin into U.S.
dollars.

32. Inor around August 2019, Customer-3 messaged Scanlon via a chat
application and requested that Scanlon send money to Lawyer-1’s Aurae Lifestyle
account because Customer-3 had not properly completed know your customer
documentation purportedly required by Nvayo before Customer-3 could send the
money directly through his account.

33. Thereafter, as a separate transaction, Customer-3 asked Scanlon if he
could convert approximately 22,000 Litecoin, a type of cryptocurrency, worth
approximately $1.7 million, into bitcoin for Customer-3. Scanlon agreed to convert
the cryptocurrency for Customer-3 and did in fact do so.

34. Customer-3 then asked Scanlon if Scanlon could keep the
cryptocurrency transaction off of the ledger of Customer-3’s Aurae Lifestyle account
because Customer-3 wanted the transaction to appear “nowhere.” Scanlon agreed
to keep the transaction off of the books. Customer-3 confirmed: “So for sure?
Ghost!” “If not I have to treat differently. So need to know for sure” “You will need
to attach this to [Customer-4’s] account if anything.” Scanlon replied: “No
attachment at all” “Doesn’t hit fiat.” Scanlon and Customer-3 then exchanged
wallet addresses.

35. A review of the cryptocurrency transaction using blockchain analysis
software, along with records from Cryptocompany-1, confirmed that Customer-3’s
cryptocurrency exchange described in Paragraph 33, above, was conducted through
AU Card, LLC’s account at Cryptocompany-1.

36. After the transaction was completed, Customer-3 confirmed: “Boom!
Received!” Customer-3 asked Scanlon to confirm that the transaction was not
posted on the ledger of his Aurae Lifestyle account, asking Scanlon: “Ghost, right?,”
to which Scanlon confirmed: “Boo.”

37. Inor around November 2019, Scanlon sent an email to Customer-3 and
Customer-3’s accountant (the “November Email”). The November Email attached a
letter on Aurae company letterhead that bore Scanlon’s signature. The letter
described a wire transfer of approximately $205,973 that AU Card, LLC had made
on behalf of a property owned by Customer-3 and Lawyer-1, both of which Scanlon
identified as AU Card clients. The letter represented that the wire transfer was
being sent as a part of AU Card, LLC’s concierge service. The letter bore a stamp

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Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 14 of 16 PagelD: 14

with Nvayo’s license number from the United Kingdom’s Financial Conduct
Authority (“FCA”) and stated that AU Card, LLC was authorized by the FCA to
issue electronic money payments. The Financial Services Record is an online
registry of entities that are registered or authorized by the FCA. The online
registry does not reflect that AU Card, LLC has been registered or authorized by
the FCA to issue electronic money payments.

Customer-4

38. _ Customer-4 maintained an Aurae Lifestyle account during the time he
was perpetuating Fraud Scheme-2.

39. Inor around November 2018, Scanlon instructed employees of the AU
Entities to conduct a wire transfer of approximately $30,000 on behalf of Customer-
4 using the AU Bank-1 Account.

40. Inor around 2019, Customer-4 requested to wire approximately
$400,000 from his Aurae Lifestyle account to an account in Cambodia. The
transaction was flagged by Nvayo’s compliance department.

41. Inor around July 2019, Nvayo filed a report with a regulator in the
United Kingdom in which Nvayo relayed issues flagged with Customer-4’s accounts.
The report represented: “We have not closed the account, yet we are restricting the
funds of USD 400,000 to be transferred out and we are restricting the customer
ability to transact further.”

42. During this time, Scanlon continued to assist Customer-4 with
financial transactions as Customer-4 relayed to Scanlon that he wanted his
financial transactions to run through other Aurae Lifestyle customers’ accounts.

43. Specifically, Scanlon exchanged several chat and audio messages with
Customer-4 about Customer-4 providing source of funds documentation regarding
the $400,000 wire transaction. In or around July 2019, Customer-4 sent audio
message files to Scanlon informing Scanlon that he did not have an invoice for the
transfer to his Cambodian account and asked whether they should instead conduct
a series of small transactions.

44, Inor around July 2019, Customer-4 instructed Scanlon to move money
from his account to Customer-3’s account and to then send that money to Customer-
4’s Cambodian bank account.

45. Thereafter, Customer-4 sent audio files to Scanlon informing Scanlon
that Customer-4 asked Customer-3 to use his account again because he needed to
wire additional money and Customer-4 understood that his Aurae Lifestyle account
was “no good” for the time being for transferring money.

-12-
Case 2:23-mj-10168-MAH Document 1 Filed 04/20/23 Page 15 of 16 PagelD: 15

4G.  Customer-4 then sent Scanlon another instruction to transfer money
for Customer-4 through another member's Aurae Lifestyle account.

AT. Inor around August 2019, Customer-4 sent Scanlon another audio
message telling Scanlon that his accountant was a “million percent by the book,
won’t do anything” so Customer-4 would try to find someone else (presumably, to
provide false source-of-funds documentation for Customer-4). Customer-4 told
Scanlon further that he wouldn’t be doing any more transfers from his account, but
that he “has some friends.”

48. Inor around September 2019, Customer-4 sent Scanlon several audio
messages explaining to Scanlon how wire transfers and cryptocurrency sales should
be conducted outside of his account. Customer-4 asked Scanlon if using other
people’s accounts to effectuate his transfers could be done long term if Customer-4
did not “have a letter” explaining his source of funds.

49.  Customer-4 sent Scanlon an audio message in which Customer-4 told
Scanlon that Customer-4 was going to modify a source of funds letter that Lawyer-1
had provided to him, which Customer-4 would then get notarized.

50.  Onor about October 21, 2019, Customer-4 provided an attestation
claiming that he was a practicing attorney licensed in Utah who served as legal
counsel and as a trustee for various clients, and he entered into a speaking
engagement with a company, in which he received approximately $3 million for
participating in three speaking engagements. The attestation at the bottom of the
document still included the name of Lawyer-1 instead of Customer-4. The
document appeared to be notarized in Japan.

51.  Customer-4 was not a lawyer. In fact, an Internet search revealed that
Customer-4 was a noncompliant, Tier IT sex offender. He had previously been
convicted of coercion using sexually motivated force and possession of child
pornography.

52.  Customer-4 remained a customer of Aurae Lifestyle and continued to
conduct financial transactions through his account through in or around February
2020, notwithstanding that the AU Entities were aware of pending criminal charges
pertaining to Fraud Scheme-2 against Customer-4 in December 2019.

Customer-5

53.  Inor around June 2018, Customer-4 purchased an Aurae Lifestyle
membership for Customer-5.

54.  Inor around September 2018, Scanlon emailed an AU Entities
employee and directed him to send a wire transfer of approximately $325,040 on

-13-
Case 2:23-mj-10168-MAH Document1 Filed 04/20/23 Page 16 of 16 PagelD: 16

behalf of Customer-5 using the AU Bank-1 Account. The invoice provided in the
body of Scanlon’s email reflected that the wire transfer was to pay “tax credits.”

55. Inor around May 2019, Scanlon emailed employees of the AU Entities
and directed them to send a wire on behalf of Customer-5. Attached to the email
with the directions was a barebones invoice addressed to Customer-5 for
approximately $36,500 for “BTC Conversion.” In response to Scanlon’s instructions,
an individual with a PMA email address observed, “[i]f we share this invoice to [one
of the AU Entities’ money processing company] they may hold the payment and
raise question [sic] around the description of payment as it is mentioned as ‘BTC
conversion.” The individual asked Scanlon permission to instead process the wire
transfer through Bank-2, to which Scanlon agreed.

56. Records received from AU Card, LLC reflect that on or about December
2, 2019, the AU Entities wired approximately $58,000 from AU Card, LLC’s Bank-2
account on behalf of Customer-5. The wire transfer record reflects an IMAD
number, which I know, generally speaking, means the wire transfer was
accomplished through the Fedwire system. The AU Entities charged Customer-5
approximately 1% of the wire amount as a wire transfer fee.

-14-
